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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE


             In re                                                    Chapter 11

             STANADYNE LLC, et al., 1                                 Case No. 23-10207 (TMH)

                              Debtors.                                (Jointly Administered)

                                                                      Hearing Date: August 22, 2023 at 11:00 a.m. (ET)
                                                                      Objection Deadline: August 15, 2023 at 4:00 p.m. (ET)

                                                     NOTICE OF MOTION

                 PLEASE TAKE NOTICE that the above-captioned debtors and debtors in possession
         (collectively, the “Debtors”) have filed the Debtors’ Motion for Entry of an Order (I) Authorizing
         the Debtors to Abandon or, Alternatively Sell the Windsor Property and (II) for Related Relief (the
         “Motion”) with the United States Bankruptcy Court for the District of Delaware (the “Court”).

                 PLEASE TAKE FURTHER NOTICE that any responses or objections to the Motion
         must be filed at or before August 15, 2023 at 4:00 p.m. (ET) (the “Objection Deadline”) with the
         United States Bankruptcy Court for the District of Delaware, 824 N. Market Street, 3rd Floor,
         Wilmington, Delaware 19801. At the same time, you must serve a copy of the objection or
         response to the Motion upon the undersigned counsel to the Debtors so as to be received on or
         before the Objection Deadline.

               PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER
         APPROVAL OF THE MOTION IS SCHEDULED FOR AUGUST 22, 2023 AT 11:00 A.M.
         (ET) BEFORE THE HONORABLE THOMAS M. HORAN, IN THE UNITED STATES
         BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, THIRD FLOOR, 824 N.
         MARKET STREET, WILMINGTON, DELAWARE 19801.

              PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTIONS OR RESPONSES
         TO THE MOTION ARE TIMELY FILED, SERVED, AND RECEIVED IN ACCORDANCE
         WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF REQUESTED IN
         CONNECTION WITH SUCH MOTION WITHOUT FURTHER NOTICE OR HEARING.




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              The debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
             number are: Stanadyne LLC (0378); Pure Power Technologies, Inc. (5202); Stanadyne PPT Holdings, Inc. (2594);
             and Stanadyne PPT Group Holdings, Inc. (1734). The Debtors’ headquarters are located at 405 White Street,
             Jacksonville, North Carolina 28546.




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             Dated: August 2, 2023             YOUNG CONAWAY STARGATT &
                    Wilmington, Delaware       TAYLOR, LLP

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                                                 -and-

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